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           Appendix A: Application of Fed. R. Civ. P. 9(b) to State DTPA Claims


Alaska     Van v. LLR, Inc., 500 F. Supp. 3d 927, 936-38 (D. Alaska 2020) (applying 9(b) because
           “[p]laintiff’s UTPCPA claim [was] based on allegations that defendants’
           representations were ‘deceptive and false.’”); see also Quintillion Subsea Operations,
           LLC v. Maritech Project Servs., Ltd., No. 4:20-cv-02310, 2023 WL 138862, at *3
           (S.D. Tex. Jan. 9, 2023).

Arkansas   Jarrett v. Panasonic Corp. of North America, 8 F. Supp. 3d 1074, 1084 (E.D. Ark.
           2013) (“‘Rule 9(b)’s pleading standard applies with equal force to state consumer fraud
           statutes as to common law fraud claims.’”) (quoting Perez v. Volkswagen Grp. of Am.,
           Inc., No. 2:12-cv-02289, 2013 WL 1661434, at *6 (W.D. Ark. Apr. 17, 2013)).

Florida    State Farm Mut. Automobile Insurance Co. v. Performance Orthopaedics &
           Neurosurgery, LLC, 278 F. Supp. 3d 1307, 1327-28 (S.D. Fla. 2017) (concluding
           “where the gravamen of the claim sounds in fraud, as here, the heightened pleading
           standard of Rule 9(b) applies”); see also Elson v. Black, 56 F.4th 1002, 1008 (5th Cir.
           2023) (applying Rule 9(b) to Louisiana, Florida, and Nevada DTPA statute).

Idaho      Keegan v. Am. Honda Motor Co., Inc., 838 F. Supp. 2d 929, 957-58 (C.D. Cal. 2012)
           (concluding that claims under various DTPAs, including Idaho Code §§ 48-601, and
           Montana Code §§ 30-14-101 et seq., are subject to heightened pleading requirement of
           Rule 9(b)); see also Quemada v. Arizmendez, 153 Idaho 609, 615, 288 P.2d 826 (2012)
           (declaring that the Idaho Consumer Protection Act imposes a heightened pleading
           standard for claims of fraud).

Indiana    Thunander v. Uponor, Inc., 887 F. Supp. 2d 850, 874 (D. Minn. 2012) (recognizing that
           an Indiana Deceptive Consumer Sales Act claim “must satisfy the heightened pleading
           standard of Fed. R. Civ. P. 9(b)”) see also McKinney v. State, 693 N.E.2d 65, 72–73
           (Ind. 1998)(holding that lower court erred by not dismissing complaint where claim
           “grounded in fraud” was not pled with particularity).

Kentucky   Hollon v. Consumer Plumbing Recovery Center, No. 5:05-414-JMH, 2006 WL
           1360805, at *4-5 (E.D. Ky. May 15, 2006) (because plaintiff’s amended complaint did
           “not plead any fraudulent acts [under the KCPA] with particularity” as required under
           Rule 9(b), the court dismissed the complaint); see also Munch v. Sears, Roebuck and
           Co., 2008 WL 4450307, at *6 n.9 (N.D. Ill. Sept. 30, 2008) (dismissing plaintiffs’
           claims under the Kentucky Consumer Fraud and Deceptive Business Practices Act and
           other state DTPAs because claims did not meet the pleading requirements of Rule
           9(b)).




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Louisiana    Pinero v. Jackson Hewitt Tax Service, Inc., 594 F. Supp. 2d 710, 720-21 (E.D. La.
             2009) (“Because plaintiff’s LUTPA claim is based on defendants’ allegedly fraudulent
             misrepresentation, plaintiff’s LUTPA claim must meet the heightened pleading
             requirements of Rule 9(b)”); see also Elson v. Black, 56 F.4th 1002, 1008 (5th Cir.
             2023)(applying Rule 9(b) to Louisiana, Florida, and Nevada DTPA statute).

Mississippi See In re Ford Motor Co. Bronco II Prods. Liab. Litig., 1995 WL 491155, at *1, 9
            (E.D. La. Aug. 15, 1995) (concluding “plaintiffs have failed to plead their Mississippi
            fraud and misrepresentation claims with particularity as is required by Rule 9(b)”).

Missouri     Goldman v. Tapestry, Inc., 501 F. Supp. 3d 662, 671 (E.D. Mo. 2020) (plaintiff failed
             to meet heightened pleading requirements under Rule 9(b) as is required under the
             MMPA because she did “not adequately explain[] ‘how’ the alleged fraud occurred”);
             Johnson v. Gilead Sciences, Inc., 563 F. Supp. 3d 981, 990 (E.D. Mo. 2021) (“The
             United States District Courts in Missouri have consistently held that Rule 9(b) applies
             to MMPA cases”)(citing Blake v. Career Educ. Corp., 4:08-cv-00821-ERW, 2009 WL
             140742, at *2 (E.D. Mo. Jan. 20, 2009) (collecting cases)).

Montana      Keegan v. Am. Honda Motor Co., Inc., 838 F. Supp. 2d 929, 957-58 (C.D. Cal. 2012)
             (concluding that claims under various DTPAs, including Idaho Code §§ 48-601 and
             Montana Code §§ 30-14-101 et seq., are subject to heightened pleading requirement of
             Rule 9(b)).

Nevada       Partie v. Ethicon, Inc., 2022 WL 2390545, at *5 (D. Nev. July 1, 2022) (“Deceptive
             trade practices claims must also be plead with Rule 9(b) particularity”) (citing
             Sommers v. Cuddy, 2012 WL 359339, at *4 (D. Nev. Feb. 2, 2012)); see also Elson v.
             Black, 56 F.4th 1002, 1008 (5th Cir. 2023) (applying Rule 9(b) to Louisiana, Florida,
             and Nevada DTPA statute).

North        Olin v. Dakota Access, LLC, 910 F.3d 1072, 1076 (8th Cir. 2018) (stating parties
Dakota       alleging claims under the North Dakota Consumer Protection Law must satisfy the
             requirements of Rule 9(b)); see also Kraft v. Essentia Health, 2022 WL 1719667, at *6
             (D.N.D. May 27, 2022) (“North Dakota’s Consumer Protection Law [is] subject to the
             heightened pleading standard of Federal Rule of Civil Procedure 9(b).”).

Puerto       There appears to be no precedent applying Rule 9(b) to the Puerto Rico DTPA statute.
Rico         However, “Federal Rule of Civil Procedure 9(b) requires particularity in pleading the
             ‘circumstances constituting fraud.’ Because Rule 9(b) is a pleading requirement, it
             concerns procedure in the federal courts and governs the pleading of claims in all civil




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             actions, including all state law claims asserted in federal court based on diversity
             jurisdiction or supplemental jurisdiction” (emphasis added).1

South        Adam Lee v. Samsung Electronics America, Inc., No. 4:21-cv-1321, 2022 WL
Carolina     4243957, at *9 (S.D. Tex. Sept. 13, 2022) (despite finding plaintiffs’ pleadings
             satisfied Rule 9(b), the court recognized that federal courts “have previously applied
             [Rule 9(b)’s] heightened pleading requirement to” DTPA claims, including South
             Carolina’s DTPA); see also Kirby v. Red Bull N. Am., Inc., No. 3:19-CV-2701, 2020
             WL 509139, at *2 (D.S.C. Jan. 31, 2020) (applying Rule 9(b) to South Carolina UTPA
             claims; denying defendant’s motion to dismiss SCUTPA claim).

South        There appears to be no precedent applying Rule 9(b) to the South Dakota DTPA
Dakota       statute. However, “Federal Rule of Civil Procedure 9(b) requires particularity in
             pleading the “circumstances constituting fraud.” Because Rule 9(b) is a pleading
             requirement, it concerns procedure in the federal courts and governs the pleading of
             claims in all civil actions, including all state law claims asserted in federal court based
             on diversity jurisdiction or supplemental jurisdiction” (emphasis added).2

Texas        Berry v. Indianapolis Life Ins. Co., 608 F. Supp. 2d 785, 800 (N.D. Tex. 2009) (“It is
             well-established that claims alleging violations of the DTPA are subject to the
             requirements of Rule 9(b)); see also Omni USA, Inc. v. Parker-Hannifin Corp, 789 F.
             Supp. 2d 831, 836 (S.D. Tex. 2011) (“Claims alleging violations of the Texas
             Insurance Code and the Deceptive Trade Practices Act … are subject to the
             requirements of Rule 9(b)”).

Utah         Jackson v. Philip Morris Inc., 46 F. Supp. 2d 1217, 1222 (D. Utah 1998) noting that
             allegations of deceptive practices under the USCPA that sound in fraud are governed
             by Rule 9(b)).




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  § 1297 Pleading Fraud With Particularity—In General, 5A Fed. Prac. & Proc. Civ. § 1297 (4th
 ed.) citing Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1103 (9th Cir. 2003) (holding the
 particularity requirements of Rule 9(b) apply to state law causes of action); citing Pirelli
 Armstrong Tire Corp. Retiree Medical Benefits Trust v. Walgreen Co., 631 F.3d 436, 443 (7th Cir.
 2011) (applying Rule 9b to Illinois DTPA statute).
 2
     Id.

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